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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA,              )
                                       )
     Plaintiff,                        )                Case No. 4:21-cr-00039-BLW
                                       )
v.                                     )                REPORT AND
                                       )                RECOMMENDATION
JIMMY D. MARTIN,                       )
                                       )
     Defendant.                        )
 _____________________________________)

      On September 23, 2021, Defendant appeared before the undersigned United States

Magistrate Judge to enter a change of plea pursuant to a written plea agreement.

Defendant executed a written waiver of the right to have the presiding United States

District Judge take his change of plea. Thereafter, the Court explained to Defendant the

nature of the charges, the maximum penalties applicable, his constitutional rights, the

effect of the Sentencing Guidelines, and that the District Judge would not be bound by

any agreement of the parties as to the penalty to be imposed. Further, the undersigned

ordered a pre-sentence report.

      Having conducted the change of plea hearing and having inquired of Defendant

and his counsel, and counsel for the United States, the Court concludes that there is a

factual basis for Defendant’s plea of guilty, and that it was entered voluntarily and with

full knowledge of the consequences, and that the plea should be accepted. The

undersigned also ordered a pre-sentence investigation to be conducted and a report

prepared by the United States Probation Office.


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                                    RECOMMENDATION

       NOW THEREFORE IT IS HEREBY RECOMMENDED:

1.     The District Court accept Defendant’s plea of guilty to Count One of the Indictment (Dkt.

       3).

2.     The District Court GRANT, at the appropriate time, the United States’ motion to dismiss

       Count Two of the Indictment (Dkt. 3) as to Defendant.

3.     The District Court order forfeiture consistent with Defendant’s admission to the Criminal

       Forfeiture allegation in the Indictment (Dkt. 3) and detailed at pages 4-6 of the Plea

       Agreement (Dkt. 20).

       Written objections to this Report and Recommendation must be filed within fourteen (14)

days pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 72.1(b), or as a result of failing to do so,

that party may waive the right to raise factual and/or legal objections to the United States Court

of Appeals for the Ninth Circuit.



                                                     DATED: September 23, 2021



                                                     Honorable Raymond E. Patricco
                                                     U. S. Magistrate Judge




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